JS 44 (Rev. 10/20)            Case 5:22-cv-04468-MRP
                                                  CIVILDocument
                                                        COVER1SHEET
                                                                Filed 11/08/22                                                                           Page 1 of 28
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
                                     Danielle Lynch Nicholson
                                                                                                               Tower Health
                                                                                                               Reading Hospital
    (b) County of Residence of First Listed Plaintiff                  Chester County                          County of Residence of First Listed Defendant              Berks County
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                      Attorneys (If Known)
Caren N. Gurmankin, Esq., Console Mattiacci Law,
1525 Locust Street, 9th Fl., Philadelphia, PA 19102, 215-545-7676

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                  ✖   3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                                (U.S. Government Not a Party)                      Citizen of This State          ✖ 1          1      Incorporated or Principal Place         4     4
                                                                                                                                                           of Business In This State

    2   U.S. Government                      4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                                (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                      Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                        Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                         Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                    TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                    PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                           310 Airplane                      365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                       315 Airplane Product                  Product Liability         690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                 Liability                    367 Health Care/                                                                                     400 State Reapportionment
    150 Recovery of Overpayment          320 Assault, Libel &                  Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment             Slander                          Personal Injury                                                 820 Copyrights                   430 Banks and Banking
    151 Medicare Act                     330 Federal Employers’                Product Liability                                               830 Patent                       450 Commerce
    152 Recovery of Defaulted                 Liability                    368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
         Student Loans                   340 Marine                            Injury Product                                                      New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product                    Liability                                                       840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment               Liability                   PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits            350 Motor Vehicle                 370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits              355 Motor Vehicle                 371 Truth in Lending              Act                                                                485 Telephone Consumer
    190 Other Contract                       Product Liability             380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability       360 Other Personal                    Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                            Injury                        385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                         362 Personal Injury -                 Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                             Medical Malpractice                                             Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                   PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation                440 Other Civil Rights            Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                      441 Voting                        463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment       ✖   442 Employment                    510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                    443 Housing/                          Sentence                                                            or Defendant)                896 Arbitration
    245 Tort Product Liability               Accommodations                530 General                                                        871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property          445 Amer. w/Disabilities -        535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                             Employment                    Other:                        462 Naturalization Application                                             Agency Decision
                                         446 Amer. w/Disabilities -        540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                             Other                         550 Civil Rights                  Actions                                                                State Statutes
                                         448 Education                     555 Prison Condition
                                                                           560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                         3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                  (specify)                 Transfer                          Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             42 U.S.C. §2000e, et seq.
VI. CAUSE OF ACTION Brief description of cause:
                                                                               Plaintiff was discriminated against because of her pregnancy.
VII. REQUESTED IN                                 CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                            in excess of $75,000                           JURY DEMAND:                X Yes             No
VIII. RELATED CASE(S)
                                                 (See instructions):
      IF ANY                                                             JUDGE                                                                DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
11/08/2022
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                        APPLYING IFP                                    JUDGE                           MAG. JUDGE
                          Case 5:22-cv-04468-MRP
                                              UNITEDDocument  1 Filed
                                                    STATES DISTRICT     11/08/22
                                                                    COURT                                                           Page 2 of 28
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                                       West Chester, PA 19382
Address of Plaintiff: ______________________________________________________________________________________________
                                           420 S. Fifth Avenue West, Reading, PA 19611
Address of Defendant: ____________________________________________________________________________________________
                                                        420 S. Fifth Avenue West, Reading, PA 19611
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                       No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      11/08/2022
DATE: __________________________________                     __________________________________________                                    205900
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
✔      7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

           Caren N. Gurmankin
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:


      X       Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

      X       Relief other than monetary damages is sought.


      11/08/2022
DATE: __________________________________                     __________________________________________                                    205900
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                       CASE MANAGEMENT TRACK DESIGNATION FORM
Danielle Lynch Nicholson                            :                          CIVIL ACTION
                                                    :
                         v.                         :
Tower Health, et al.                                :
                                                    :                          NO.

  In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
  plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
  filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
  side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
  designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
  the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
  to which that defendant believes the case should be assigned.

  SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
  (a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

  (b) Social Security – Cases requesting review of a decision of the Secretary of Health
      and Human Services denying plaintiff Social Security Benefits.                                   ( )

  (c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

  (d) Asbestos – Cases involving claims for personal injury or property damage from
      exposure to asbestos.                                                                            ( )

  (e) Special Management – Cases that do not fall into tracks (a) through (d) that are
      commonly referred to as complex and that need special or intense management by
      the court. (See reverse side of this form for a detailed explanation of special
      management cases.)                                                                               ( )

  (f) Standard Management – Cases that do not fall into any one of the other tracks.                   ( X)


  11/8/2022                                                             Plaintiff, Danielle Lynch Nicholson
  Date                               Attorney-at-law                       Attorney for
   215-545-7676                   215-405-2900                          gurmankin@consolelaw.com

  Telephone                           FAX Number                           E-Mail Address


  (Civ. 660) 10/02
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                IN THE UNITED STATES DISTRICT COURT FOR
                 THE EASTERN DISTRICT OF PENNSYLVANIA

________________________________
                                     :
DANIELLE LYNCH NICHOLSON             :
West Chester, PA 19382               :              CIVIL ACTION NO.
                                     :
                         Plaintiff,  :
                                     :
              v.                     :
                                     :
                                     :
TOWER HEALTH                         :              JURY TRIAL DEMANDED
420 S. Fifth Avenue West             :
Reading, PA 19611                    :
                                     :
and                                  :
                                     :
READING HOSPITAL                     :
420 S. Fifth Avenue West             :
Reading, PA 19611                    :
                                     :
                                     :
                         Defendants. :
________________________________     :

                                     COMPLAINT

I.     INTRODUCTION

       Plaintiff, Danielle Lynch Nicholson, brings this action against her former

employer Tower Health and one of its subsidiaries, Reading Hospital (“Defendants”).

Defendant terminated Plaintiff shortly after she advised that she was pregnant and failed

to place her into open positions for which she was qualified. Defendants’ unlawful

conduct towards Plaintiff violated Title VII of the Civil Rights Act of 1964, as amended,

42 U.S.C. § 2000e, et seq. (“Title VII”), and the Pennsylvania Human Relations Act, as

amended, 43 P.S. § 951, et seq. (“PHRA”).
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II.     PARTIES

        1.     Plaintiff, Danielle Lynch Nicholson, is an individual and a citizen of

the Commonwealth of Pennsylvania. She resides in West Chester, PA 19382.

        2.     Defendant, Tower Health, is an entity with a principal place of business at

420 S. Fifth Avenue West, Reading, PA 19611.

        3.     Defendant, Reading Hospital, is an entity with a principal place of

business at 420 S. Fifth Avenue, West Reading, PA 19611.

        4.     The website for Defendant Tower Health states that it is a “strong,

regional, integrated healthcare provider/payer system that offers leading-edge,

compassionate healthcare and wellness services to a population of 2.5 million people.”

        5.     Plaintiff’s email address during her employment with Defendant was

danielle.lynch@towerhealth.org.

        6.     Defendants are engaged in an industry affecting interstate commerce and

regularly do business in the Commonwealth of Pennsylvania.

        7.     At all times material hereto, Defendants employed more than fifteen (15)

employees.

        8.     At all times material hereto, Defendants acted by and through their

authorized agents, servants, workmen, and/or employees acting within the course and

scope of their employment with Defendants and in furtherance of Defendants’ business.

        9.     At all times material hereto, Defendants acted as employers within the

meaning of the statutes which form the basis of this matter.

        10.    At all times material hereto, Plaintiff was an employee of Defendants

within the meaning of the statutes which form the basis of this matter.




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III.     JURISDICTION AND VENUE

         11.   The causes of action which form the basis of this matter arise under Title

VII and the PHRA.

         12.   The District Court has jurisdiction over Count I (Title VII) pursuant to 42

U.S.C. § 2000e-5 and 28 U.S.C. § 1331.

         13.   The District Court has supplemental jurisdiction over Count II (PHRA)

pursuant to 28 U.S.C. §1367.

         14.   Venue is proper in the District Court under 28 U.S.C. §1391(b) and 42

U.S.C. §2000(e)-5(f).

         15.   On or about March 17, 2021, Plaintiff filed a Complaint with the PHRC,

complaining of acts of discrimination alleged herein. Her Complaint was cross-filed with

the Equal Employment Opportunity Commission (“EEOC”). Attached hereto,

incorporated herein and marked as Exhibit “1” is a true and correct copy of the PHRC

Complaint (with personal identifying information redacted).

         16.   On or about August 16, 2022, the EEOC issued to Plaintiff a Dismissal

and Notice of Rights for her PHRC Complaint. Attached hereto, incorporated herein and

marked as Exhibit “2” is a true and correct copy of that notice (with personal identifying

information redacted).

         17.   Plaintiff has fully complied with all administrative prerequisites for the

commencement of this action.

IV.      FACTUAL ALLEGATIONS

         18.   Plaintiff commenced her employment with Defendant Tower Health on or

about December 2, 2019.




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        19.    Plaintiff was hired into the position of Marketing Coordinator at

Brandywine Hospital, which was part of Defendant Tower Health. She held that position

throughout her employment.

        20.    As part of Plaintiff’s job responsibilities, she was part of Defendant Tower

Health’s Social Media Team which consisted of Marketing employees from hospitals

throughout the health system.

        21.    Plaintiff consistently performed her job duties in a highly competent

manner and received positive feedback regarding the same.

        22.    As of the time that Defendant Tower Health terminated Plaintiff’s

employment, she reported directly to James Gechter, Web/Social Media Content

Manager, and Mary Beth Lowery, Marketing Director. Gechter reported to Kimberly

Slattery, System Director, Web Services. Lowery reported to Lisa Hess (female), Vice

President, Marketing and Corporate Communications for Defendant Tower Health, and

Claire Mooney, President and Chief Executive Officer, Brandywine Hospital.

        23.    On or about January 11, 2021, Plaintiff learned that she was pregnant and

due on September 14, 2021.

        24.    Plaintiff advised Defendants, through a phone call with Gechter, of her

pregnancy on or about January 14, 2021.

        25.    During her call with Gechter, Plaintiff expressed concern about working

in-person at the office, as there was then a surge of Covid-19 cases and her doctor had

advised against her getting the Covid vaccine due to her pregnancy. Plaintiff told

Gechter that she knew that Lowery was pushing for employees to return to in-person

work.




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       26.     Plaintiff also told Gechter that her due date was mid-September 2021.

       27.     On or about January 19, 2021, Plaintiff also advised Lowery that she was

pregnant and that, due to the same and her doctor’s medical advice not to receive the

vaccine and the then-current Covid-19 case surge, she was concerned about working in-

person at the office.

       28.     Plaintiff also expressed to Lowery that she had been waiting a long time to

become a mother and how significant her pregnancy was to her. Plaintiff also told

Lowery that she had been feeling more tired than usual due to her pregnancy.

       29.     Lowery told Plaintiff that her pregnancy was bad timing.

       30.     Lowery also asked Plaintiff how far along she was in her pregnancy and

when her due date was. Plaintiff told her that her due date was in mid-September.

       31.     Lowery told Plaintiff that it would be interesting to see what happened

next. Lowery also said that she was not certain how Mooney would react if she heard

that Plaintiff was pregnant.

       32.     Following Plaintiff’s conversation with Lowery, Plaintiff advised Gechter

that she had told Lowery of her pregnancy. Plaintiff also told Gechter that she had a

pregnancy-related doctor’s appointment later that month for which she would need to

take paid time off.

       33.     On or about January 29, 2021, Plaintiff submitted a doctor’s note

requesting that she be permitted to work from home as an accommodation for her

pregnancy.

       34.     Plaintiff subsequently advised Lowery of her doctor’s note and

accommodation request.




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       35.     Lowery asked Plaintiff if she needed to work from home during the

entirety of her pregnancy or whether she would be able to re-evaluate her accommodation

request at her next doctor’s appointment.

       36.     Lowery also asked Plaintiff when she planned to get the Covid vaccine.

       37.     Plaintiff told Lowery that she would follow her doctor’s recommendations

and medical advice. Plaintiff also told Lowery that her doctor recommended that she

wait until her second trimester to get the vaccine.

       38.     Lowery told Plaintiff that it was hard for her to plan when she did not have

a lot of information from Plaintiff.

       39.     Defendants approved Plaintiff’s request to work from home due to her

pregnancy.

       40.     Shortly thereafter, Gechter asked Plaintiff if Defendant had approved her

accommodation request. Plaintiff confirmed that her request had been approved.

       41.     After Plaintiff informed Defendants of her pregnancy and after she

submitted a request for an accommodation in connection with the same, Defendants

treated her worse than she had prior to her pregnancy, as set forth herein.

       42.     After Plaintiff advised of her pregnancy, Lowery and Gechter did not

assign Plaintiff as many new projects/tasks as they had previously.

       43.     After Plaintiff advised of her pregnancy, Lowery and Gechter removed

certain job duties and responsibilities from Plaintiff.

       44.     After Plaintiff advised of her pregnancy, Lowery reduced her

communications with Plaintiff.

       45.     After Plaintiff advised of her pregnancy, Lowery ignored Plaintiff’s




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requests for additional work.

        46.     After Plaintiff advised of her pregnancy, Lowery excluded Plaintiff from

certain communications related to Plaintiff’s job responsibilities and did not provide

Plaintiff with certain information that Plaintiff needed to perform her job.

        47.     After Plaintiff advised of her pregnancy, Lowery excluded Plaintiff from

projects for which she had previously asked for Plaintiff’s assistance.

        48.     On or about February 13, 2021, Plaintiff applied for a Marketing

Specialist position at Defendant Reading Hospital.

        49.     Defendant Reading Hospital was part of Defendant Tower Health.

        50.     Plaintiff was qualified for the position of Marketing Specialist at

Defendant Reading Hospital.

        51.     On or about February 15, 2021, Gechter advised that Defendants had hired

another Marketing Coordinator at Defendant Reading Hospital.

        52.     Gechter said that the new Marketing Coordinator would be assigned one

of Plaintiff’s job responsibilities.

        53.     That job responsibility that Defendants removed from Plaintiff and

assigned to the new Marketing Coordinator was a significant part of Plaintiff’s job.

        54.     On or about February 17, 2021, Defendants informed Plaintiff that her

employment was terminated, effective immediately.

        55.     Plaintiff was told that her employment was being terminated because her

position was being eliminated. Plaintiff was also told that her termination was not a

result of poor performance.

        56.     Plaintiff was the only employee who reported to Lowery and Gechter who




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was terminated effective February 17, 2021.

       57.     Defendants did not offer Plaintiff any opportunity to remain employed at

that time.

       58.     There were open positions for which Plaintiff was qualified as of the time

of her termination.

       59.     On or about February 22, 2021, Plaintiff interviewed with Chrystal

Schardt, Interim Marketing Director at Defendant Reading Hospital, for the Marketing

Specialist position for which she had previously applied.

       60.     On or about February 24, 2021, Defendant advised Plaintiff that she had

not been selected for the Marketing Specialist position at Reading Hospital.

       61.     Defendant did not provide Plaintiff with a reason as to why she was not

selected for the Marketing Specialist position.

       62.     On or about March 1, 2021, Plaintiff interviewed for an open Corporate

Communications Manager at Reading Hospital.

       63.     Plaintiff was qualified for the position of Corporate Communications

Manager.

       64.     Defendants did not hire Plaintiff for the position of Corporate

Communications Manager.

       65.     In around late March 2021, Defendants advised Plaintiff that it put the

Corporate Communications Manager position on hold while it evaluated positions and

that it would get in touch with her if it were re-opened.

       66.     No one at Defendants got back to Plaintiff about the Corporate

Communications Manager position or any other open position at Defendants.




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        67.     Plaintiff’s pregnancy was a motivating and/or determinative factor in

Defendants’ discriminatory treatment of Plaintiff, including terminating her employment,

failing to place her into the Marketing Specialist position, and failing to place her into the

Corporate Communications Manager position.

        68.     Defendants failed to prevent or address the discriminatory conduct

referred to herein and further failed to take corrective and remedial measures to make the

workplace free of discriminatory conduct.

        69.     As a direct and proximate result of the discriminatory conduct of

Defendants, Plaintiff has in the past incurred, and may in the future incur, a loss of

earnings and/or earning capacity, loss of benefits, pain and suffering, embarrassment,

humiliation, loss of self-esteem, mental anguish, and loss of life’s pleasures, the full

extent of which is not known at this time.

        70.     The conduct of Defendant, as set forth above, was outrageous under the

circumstances and warrants the imposition of punitive damages against Defendant.

                                     COUNT I – Title VII

        71.     Plaintiff incorporates herein by reference paragraphs 1 through 70 above,

as if set forth herein in their entirety.

        72.     By committing the foregoing acts of discrimination against Plaintiff,

Defendants have violated Title VII.

        73.     Defendant acted intentionally, and with malice and/or reckless

indifference to Plaintiff’s rights, and its conduct warrants the imposition of punitive

damages.




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        74.       As a direct and proximate result of Defendants’ violation of Title VII,

Plaintiff has suffered the damages and losses set forth herein and has incurred attorney’s

fees and costs.

        75.       Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendants’ discriminatory acts unless and until this

Court grants the relief requested herein.

        76.       No previous application has been made for the relief requested herein.

                                      COUNT II – PHRA

        77.       Plaintiff incorporates herein by reference paragraphs 1 through 76 above,

as if set forth herein in their entirety.

        78.       Defendants, by the above improper and discriminatory acts, have violated

the PHRA.

        79.       Said violations were intentional and willful.

        80.       As a direct and proximate result of Defendants’ violation of the PHRA,

Plaintiff has sustained the injuries, damages, and losses set forth herein and has incurred

attorney’s fees and costs.

        81.       Plaintiff is now suffering and will continue to suffer irreparable injuries

and monetary damages as a result of Defendants’ discriminatory acts unless and until the

Court grants the relief requested herein.

        82.       No previous application has been made for the relief requested herein.




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                                            RELIEF

          WHEREFORE, Plaintiff seeks damages and legal and equitable relief in

connection with Defendants’ improper conduct, and specifically prays that the Court

grant the following relief to the Plaintiff by:

                 (a)      declaring the acts and practices complained of herein to be in

violation of Title VII;

                 (b)      declaring the acts and practices complained of herein to be in

violation of the PHRA;

                 (c)      enjoining and permanently restraining the violations alleged

herein;

                 (d)      entering judgment against the Defendants and in favor of the

Plaintiff in an amount to be determined;

                 (e)      awarding compensatory damages to make the Plaintiff whole for

all lost earnings, earning capacity and benefits, past and future, which Plaintiff has

suffered or may suffer as a result of Defendants’ improper conduct;

                 (f)      awarding compensatory damages to Plaintiff for past and future

pain and suffering, emotional upset, mental anguish, humiliation, and loss of life’s

pleasures, which Plaintiff has suffered or may suffer as a result of Defendants’ improper

conduct;

                 (g)      awarding punitive damages to Plaintiff under Title VII;

                 (h)      awarding Plaintiff such other damages as are appropriate under

Title VII and the PHRA;




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               (i)     awarding Plaintiff the costs of suit, expert fees and other

disbursements, and reasonable attorney’s fees; and,

               (j)     granting such other and further relief as this Court may deem just,

proper, or equitable including other equitable and injunctive relief providing restitution

for past violations and preventing future violations.



                                              CONSOLE MATTIACCI LAW, LLC



Dated: November 8, 2022               BY:     /s/ Caren N. Gurmankin__
                                              Caren N. Gurmankin, Esq.
                                              1525 Locust St., 9th Floor
                                              Philadelphia, PA 19102
                                              (215) 545-7676

                                              Attorney for Plaintiff,
                                              Danielle Lynch Nicholson




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